      Case: 1:07-cv-00557 Document #: 1 Filed: 01/29/07 Page 1 of 2 PageID #:13
                                                                                          FILED
                                                                                JANUARY 29, 2007
                                                                                    MICHAEL W. DOBBINS
                              UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
                                                                                   JUDGE LEFKOW
                                                                               MAGISTRATE JUDGE COLE
BRENDA RILES, Special Administrator of             )
the Estate of SALLIE RILES, Deceased,              )
                                                   )
                               Plaintiff,          )
                                                   )
                        v.                         )

SCHWAB REHABILITATION HOSPITAL,
                                                   )
                                                   )
                                                                                        07 C 557
MOUNT SINAI HOSPITAL MEDICAL,                      )
CENTER OF CHICAGO,                                 )
                                                                    WAH
SANG HUN SUH, M.D.,                                )
HUGO ALVAREZ, M.D.,                                )
B. SARAVANAN, M.D.,                                )
                                                            (Formerly Case No. 05 L 11176
AL-JAGHBEER, M.D.,                                 )
                                                             Circuit Court of Cook County)
                                                   )
                               Defendants.         )

                       NOTICE OF REMOVAL OF A CIVIL ACTION

       Petitioner Hugo Alvarez, M.D., by Patrick J. Fitzgerald United States Attorney for the

Northern District of Illinois, petitions the court as follows:

       1.      On or about April 14, 2006, plaintiff served a complaint and summons upon

defendant Dr. Alvarez.

       2.      Dr. Alvarez, an employee of Access Community Health Network, has been named

as a defendant in a civil action now pending in the Circuit Court of Cook County, Illinois, entitled:

Brenda, Special Administrator of the Estate of Sallie Riles, Deceased v. Schwab Rehabilitation

Hospital, et al., Case No. 05 L 11176. A copy of the summons and complaint is attached as

Exhibit A.

       3.      At that time of the acts alleged in the complaint, Dr. Alvarez was an employee of

Access Community Health Network, and those acts occurred while Dr. Alvarez was acting within
      Case: 1:07-cv-00557 Document #: 1 Filed: 01/29/07 Page 2 of 2 PageID #:14



the scope of that employment. See Certification of Assistant United States Attorney Thomas P.

Walsh, attached as Exhibit B.

          4.     Pursuant to the Federally Supported Health Centers Assistance Act, 42 U.S.C.

§ 233(g)-(n), the exclusive remedy for torts committed by the Access Community Health Network,

and its employees is an action against the United States of America under the Federal Tort Claims

Act, 28 U.S.C. §§ 1346; 2671, et seq. See 42 U.S.C. § 233(c).

          5.     At this time, the United States Attorney has not been properly served with a copy of

the summons and complaint, nor has the Attorney General of the United States.

          6.     This notice of removal is brought pursuant to 28 U.S.C. §§ 1441, 1442, 1446, and

2679, and said action is one which may be removed without bond to this court pursuant to

§§ 1441(a), 1442, and 1446(d), inasmuch as said action is actually a civil suit against the United

States.

          Wherefore, this action now pending in the Circuit Court of Cook County, State of Illinois,

is properly removed therefrom to this court, pursuant to 28 U.S.C. § 1441(a).


                                                  Respectfully submitted,

                                                  PATRICK J. FITZGERALD
                                                  United States Attorney


                                                  By: s/ James M. Kuhn, Sr.
                                                    JAMES M. KUHN SR.
                                                    Assistant United States Attorney
                                                    219 South Dearborn Street
                                                    Chicago, Illinois 60604
                                                    (312) 353-1877




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